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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 12CR3307-JAH

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
JESUS MANUEL RIVERA-
PAREDES(1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

X    an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Information:

     8:1324(A)(2)(B)(ii);18:2 - Bringing in Illegal Aliens Without

     Presentation; Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: AUGUST 30, 2012
                                            DAVID H. BARTICK
                                            U.S. Magistrate Judge
